               CASE 0:17-md-02795-MJD-KMM Doc. 849 Filed 11/19/20 Page 1 of 1

                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

                                   VIDEO CONFERENCING
                                   CIVIL MOTION HEARING

 Re: CenturyLink Sales Practices and                            COURT MINUTES
 Securities Litigation,                                    BEFORE: Judge Michael J. Davis
                                                                U.S. District Court

                                                Case Nos.:               17-md-2795-MJD-KMM
                                                Date:                    November 19, 2020
                                                Court Reporter:          Renee Rogge
                                                Courtroom:               13E – Via Video Conferencing
                                                Time Commenced:          10:35 a.m.
                                                Time Concluded:          11:54 a.m.
                                                Time in Court:           1 hour 19 minutes
 Hearing on:

 MOTION for Attorney Fees, Reimbursement of Costs and Expenses, and Class Representative
 Service Awards filed by Plaintiffs' Interim Co-Lead Counsel [731]

 MOTION for Final Approval of Class Action Settlement filed by Plaintiffs' Interim Co-Lead
 Counsel [832]


APPEARANCES:

For Plaintiffs (Consumer Fraud):
 Brian C Gudmundson          Zimmerman Reed, PLLP
 Ann T. Regan                Hellmuth & Johnson, PLLC

For Defendant CenturyLink:
 Douglas P. Lobel          Cooley LLP
 Jeffrey M. Gutkin         Cooley LLP

For Objector Troy Scheffler:
 Peter J. Nikitas            Peter J. Nikitas Law Office

For Objector Troy A. Poetz:
 Troy A. Poetz              Rajkowski Hansmeier Ltd


PROCEEDINGS:

The motions were moved, argued and granted. Order to follow.


Date: November 19, 2020                                                                           s/GRR
                                                               Courtroom Deputy to Judge Michael J. Davis
